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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 21-cr-508-01-BAH
                                     :
v.                                   :
                                     :
LUKE WESSLEY BENDER,                 :
                                     :
            Defendant.               :
____________________________________:

          SUPPLEMENT TO DEFENDANT’S SENTENCING MEMORANDUM

       Since the date of the originally scheduled sentencing hearing to the present, Luke Bender

has remained in complete compliance with every condition of the High Intensity Supervision

Program (with GPS monitoring), as he has since his arrest in July 2021. He continues to maintain

full employment, often getting to work at 5:00 a.m. and ensuring each day that he complies with

the Court’s evening curfew requirements. The Court’s stringent release conditions have allowed

Mr. Bender to become a productive member of society and to provide for himself and his wife as

they begin the process of starting a family.

       To the Government, none of these facts matter. It asks this Court to sentence Mr. Bender

to 2.5 years of incarceration. But why? It is not because he violently broke into the U.S. Capitol

on January 6, 2021, as surveillance video shows him walking in and walking around after the

evacuation of members of Congress and the suspension of the joint session to certify the Electoral

College vote. Nor is it because he assaulted or threatened anyone (including law enforcement) or

stole or defaced any property inside the U.S. Capitol, as surveillance video shows Mr. Bender

engaging in no such conduct. Rather, the Government asks this Court for lengthy incarceration

because Mr. Bender, during the minutes of parading and demonstrating inside the U.S. Capitol,



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entered into the Senate Chamber. To the Government, this crosses a special threshold that alters

its discretionary decision as to whether Mr. Bender should be able to plead guilty to a petit

misdemeanor (maximum six-month) offense or to a felony obstruction of an official proceeding

offense. The consequences of this discretionary decision — for nearly identical conduct — could

not be harsher, as one has historically resulted in no incarceration, while the other, as the

Government asks here, could result in multiple years of incarceration in a Bureau of Prisons

(“BOP”) facility.

       The Government’s arbitrary distinction creates obvious sentencing disparities. Below are

the names of every January 6, 2021 Capitol breach defendant for whose conduct the Government

did not seek a sentence of incarceration: 1

Morgan-Lloyd, Anna                  Parks, Jennifer                 Colbath, Paul
Ehrke, Valerie                      Reimler, Nicholas               Lewis, Jacob
Bissey, Donna                       Miller, Brandon                 Lentz, Nicholes
Hiles, Jacob                        Miller, Stephanie               Daughtry, Michael
Wangler, Douglas                    Hatley, Andrew                  Juran, John
Harrison, Bruce                     Pert, Rachael                   Genco, Raechel
Sizer, Brian                        Winn, Dana                      Macrae, Douglas Farquhar
Bustle, Jessica                     Wickersham, Gary                Seymour, Paul Sr.
Bustle, Joshua                      Schwemmer, Esther               Seymour, Paul Jr.
Doyle, Danielle                     Kelly, Kenneth                  Ferguson, Jamie
Bennett, Andrew                     Straka, Brandon                 Fontanez-Rodriguez, Samuel
Mazzocco, Matthew                   Sizer, Julia                    Bostic, Karegan
Rosa, Eliel                         Blauser, William                Bostic, Willard Jr.
Gallagher, Thomas                   Barnard, Richard                McFadden, Tyrone
Vinson, Thomas                      Witcher, Jeffrey                Mileur, Aaron
Dillon, Brittiany                   McAlanis, Edward                Williams, Carrie
Sanders, Jonathan                   Lollis, James                   Rutledge, Meghan
Fitchett, Cindy                                                     Saer, Lilith
                                    Schubert, Amy
                                                                    Cantrell, Eric
Sweet, Douglas                      Schubert, John
Cordon, Sean                        Orangias, Michael
Wilkerson, John IV                  Quick, Michael
Jones, Caleb                        Quick, Stephen
Brown, Terry                        Reda, Kenneth
Wrigley, Andrew                     McCreary, Brian

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 See Government’s Sentencing Table of January 6 Capitol Breach Defendants, dated April 7,
2023.
                                                2
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       The above list does not include all the defendants for whom the Government sought, but

judges in this District, nonetheless, refused to impose, a sentence of incarceration at a BOP facility:

Vinson, Lori                        Krzywicki, Carla                     Spigelmyer, Paul
Griffith, Jack                      Kulas, Christian                     Uptmore, James
Torrens, Eric                       Kulas, Mark                          Brooks, James
Gruppo, Leonard                     Von Bernewitz, Eric                  Yazdani-Isfehani, Abigail
Croy, Glenn                         Ballesteros, Robert                  Yazdani-Isfehani, Loruhamah
Stotts, Jordan                      Peart, Willard                       Comeau, Jason
Cordon, Kevin                       Spain, Jr., Edward                   Evans III, Treniss
Abual-Ragheb, Rasha                 Chapman, Robert                      Castle, Trudy
Nelson, Brandon                     Tagaris, Jody                        DiFrancesco, Kimberly
Markofski, Abram                    Sywak, William Jason                 Wood, Matthew
Marquez, Felipe                     Sywak, William Michael               Wiersma, David
Mariotto, Anthony                   Laurens, Jonathan                    Frankowski, Dawn
Edwards, Gary                       Cunningham, Christopher              Buxton, Jonas
Tutrow, Israel                      Torre, Benjamin                      Billingsley, Steven
Kostolsky, Jackson                  Suarez, Marissa                      Gross, Juliano
Rusyn, Michael                      Todisco, Patricia                    Council, Matthew
Sells, Tanner                       Persick, Kerry                       Johnson Jr., Thaddis
Walden, Jon                         Buckler, Matthew                     Bond, Stacy Lee
Prado, Nicole                       Cavanaugh, Andrew                    Conlon, Paula
Williams, Vic                       Ortiz, Christopher                   Witzemann, Shawn
Wiedrich, Jacob                     Homer, Lisa                          Slaeker, Tyler
Stepakoff, Michael                  Fracker, Jacob                       Montalvo, Matthew
Wilson, Zachary                     Carlton, Daniel Jonathan             Gable, Levi
Wilson, Kelsey                      Thurlow, Steven                      Faulkner, Luke
McAuliffe, Justin                   McNicoll, Lois Lynn                  Javid, Iraj
Williams, Andrew                    Youngers, Darrell                    Lanham, Melanie
Sunstrum, Traci                     Vollan, Cody                         Gleffe, Marcos
Gonzalez, Eduardo                   Carollo, Anthoy                      Heathcote, Chad
Strong, Kevin                       Bratjan, Frank                       Manwaring, Susan
Nalley, Verden                      Ferreira, Leticia                    Bustos, Alexis
Carico, Michael                     Connor, Francis                      Bustos, Bryan
Loftus, Kevin                       Ferrigno, Antonio                    Myers, Rachel
Kelley, Kari                        Lunyk, Anton                         Grover, Logan
Martin, Zachary                     Vincent, Reva                        Cramer, Country
Cudd, Jenny                         Ayres, Stephen                       Gordon, Vaughn
Jackson, Micajah                    Hentschel, Cara                      Gerwatowski, Eric
Ivey, Bryan                         Munn, Dawn                           Ambrose, Lawrence
Burress, Gabriel                    Munn, Joshua                         Tilley, Todd
Pettit, Madison                     Munn, Kayli                          Montoya, Samuel
Fee, Thomas                         Munn, Kristi
Zlab, Joseph                        Munn, Thomas
Fox, Samuel                         Munger, Jeffrey
Hardin, Michael                     Rodean, Nicholas
O’Malley, Timothy                   Mels, James Allen
Rebegila, Mark                      Clark, Christy
Conover, Thomas                     Clark, Matthew


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       If none of the individuals in the above-referenced lists were sentenced to a day in prison

for their actions on January 6, 2021, why should Luke Bender, who did not destroy, assault, harass,

deface, or injure when walking inside the U.S. Capitol that day or when walking past law

enforcement on the way out. Does the fact that Mr. Bender walked onto the Senate Floor, not by

breaking-in or by force, but by walking in, justify a sentencing disparity of years? It does not.

       As for defendant Jennifer Horvath, No. 22-cr-00192 (BAH), this Court sentenced her, like

it did her then boyfriend, Glen Wes Lee Croy, to 36 months’ probation and 3 months’ home

detention (with a 14-day period in a residential reentry center (i.e., halfway house)). In that

proceeding, the Government asserted that Ms. Horvath deserved a sentence of incarceration

because she:

       (1) was among a group of rioters that surrounded, taunted, and assaulted
       Metropolitan Police Department (‘MPD’) officers as they arrived to defend the
       Capitol on January 6, 2021; (2) climbed through metal scaffolding to be one of the
       first rioters to reach the Northwest Courtyard; (3) unlawfully entered the Capitol
       Building through the Senate Wing Door at 2:18 p.m., just five minutes after the
       initial breach at that location; (4) entered a sensitive location, a Senate Conference
       Room; (5) proceeded toward the Crypt area of the Capitol Building while chanting,
       “who’s house? Our house!”; (6) menacingly yelled, ‘Where’s Nancy?’ as she
       proceeded through the Capitol Building; (7) was part of the mob that overran and
       made physical contact with United States Capitol Police (‘USCP’) officers in the
       Crypt; (8) was instructed to leave the Capitol Building but remained on restricted
       Capitol Grounds for nearly 45 minutes, during which time she climbed to the top
       of a government vehicle; (9) re-entered the Capitol Building through a different
       door amidst a mass of rioters who pushed past police officers who were attempting
       to keep them out; (10) evaded officers who were attempting to clear the area near
       the Rotunda doors and then entered the Rotunda; and (11) made social media posts
       in the days following January 6, 2021 in which she falsely claimed that law
       enforcement officers protecting the Capitol were attempting to ‘agitate’ the crowd
       ‘until Antifa positioned.’

22-cr-192 (BAH) (D.E. 30 at 2). A period of incarceration at a BOP facility was as unwarranted

for Ms. Horvath as it is for Mr. Bender, who entered the U.S. Capitol 27 minutes after Ms. Horvath

had entered, remained inside for less time than she did, did not reenter a second time, and did not



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engage in the other conduct described by the Government, including yelling, “Where’s Nancy?”

or standing on top of a government vehicle outside the U.S. Capitol. As another example, this

Court sentenced Ms. Horvath’s codefendant, Terry Lynn Lindsey, No. 21-cr-162-2 (BAH), to five

months’ incarceration when he:

           physically shoved a police officer, used illegal substances on Capitol grounds,
           evaded law enforcement during a second entry into the Capitol Building, threatened
           to return to the Capitol with guns, lied to and misled the FBI during his post-arrest
           interview, committed offenses and pretrial release violations during the pendency
           of his case, and entered a belated plea agreement more than a year after his arrest
           and just shortly before the scheduled trial date.

Id., 07/15/22 Tr. at 64-65. Mr. Bender engaged in none of this conduct and yet the Government

wants him to be incarcerated for years. The sentencing factors do not permit such a sentencing

disparity solely because the Government chooses to charge individuals with felonies based on an

arbitrary line of prosecutorial demarcation.

           Mr. Bender is a very young man who turned his life around and is both fully employed and

fully in compliance with his release conditions. The life-long felony conviction and lengthy period

of supervision that he will incur in this case serve as more than just deterrence and punishment for

his specific actions when participating in the events of January 6, 2021. Sentencing him to a federal

prison would be a sentence “greater than necessary” to comply with the statutory purposes of

sentencing and would only serve to undermine the progress that he has made over the last two

years. 2



2
  To address the Government’s assertion in its Sentencing Memorandum (D.E. 113 at 31) that Mr.
Bender is facing multiple felonies in Stafford County, Virginia, arising from an offense when he
was 20 years old, that entire matter was resolved with a misdemeanor plea to destroyed property.
Mr. Bender has since made full restitution and received a sentence of probation. Mr. Bender has
left his past behind him and has no pending charges or violations. The decision now is whether he
should be allowed to continue in the exceptional progress that he has made from a wayward youth
to a responsible adult and husband, or rather, should he be sentenced to a federal prison. Mr.
Bender respectfully asks this Court to give him the opportunity to further prove himself through


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                                         CONCLUSION

       For the foregoing reasons and others that may appear to the Court or may develop at the

sentencing hearing, Mr. Bender respectfully requests that this Court impose a sentence of three

years of supervision, with a period of home confinement, in addition to the mandatory restitution

of $2,000 to the Architect of the Capitol.

Dated: April 17, 2023                        Respectfully submitted,
                                             SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

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continued Court supervision, as was afforded to the two hundred other “rioters” and
“insurrectionists” listed above for similar conduct on January 6, 2021.


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